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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal   Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JOSEPH RYAN
6
7
                                UNITED STATES DISTRICT COURT
8
                                EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,              )   No. 15-CR-116 JAM
                                            )
11                      Plaintiff,          )   STIPULATION AND ORDER TO
                                            )   CONTINUE STATUS CONFERENCE
12          v.                              )
                                            )   Date: September 15, 2015
13   JOSEPH RYAN,                           )   Time: 9:15 a.m.
                                            )   Judge: Hon. John A. Mendez
14                     Defendants.          )
                                            )
15                                          )
16
             The United States of America, through its counsel, Assistant U. S. Attorney
17
     Michelle Rodriguez, and defendant, Joseph Ryan, through Assistant Federal
18
     Defender, Noa E. Oren, stipulate that the Status Conference, currently scheduled
19
     for September 15, 2015, be continued to September 22, 2015 at 9:15 a.m.
20
              The continuance is requested because the parties are negotiating a
21
     settlement of this case.
22
             The parties agree that the above reasons constitute good cause to extend the
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24
     time for preliminary hearing under Fed. R. Crim. P. 5.1. The parties stipulate that

25
     the ends of justice served by granting the defendants’ request for a continuance

26
     outweigh the best interest of the public and the defendants in a speedy trial, and

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     ///

28
     ///

      Stipulation to Continue                   -1-                  U.S. v. Ryan, 15-cr-116 JAM
       Case 2:15-cr-00116-KJM Document 67 Filed 09/14/15 Page 2 of 3


1    that this is an appropriate exclusion of time for defense preparation within the
2    meaning of 18 U.S.C. § 3161(h)(7) (Local Code T4).
3    DATED: September 11, 2015              HEATHER E. WILLIAMS
4                                           Federal Defender
5
                                            /s/ Noa E. Oren
6                                           NOA E. OREN
7                                           Assistant Federal Defender
                                            Attorney for JOSEPH RYAN
8
9    DATED: September 11, 2015              BENJAMIN B. WAGNER
                                            United States Attorney
10
11                                          /s/ Michelle Rodriguez
                                            MICHELLE RODRIGUEZ
12                                          Assistant U.S. Attorney
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      Stipulation to Continue                 -2-                    U.S. v. Ryan, 15-cr-116 JAM
       Case 2:15-cr-00116-KJM Document 67 Filed 09/14/15 Page 3 of 3


1                                         ORDER
2            Finding good cause, the Court orders the preliminary hearing continued to
3    September 22, 2015, at 9:15 a.m., before the Hon. John A. Mendez; and, time
4    excluded for the reasons set forth above. The Court finds that the ends of justice
5    served by granting the defendants’ request for a continuance outweigh the best
6    interest of the public and the defendants in a speedy trial.
7    DATED: September 11, 2015
8                                            /s/ John A. Mendez_____________
9                                            HON. JOHN A. MENDEZ
                                             United States District Court Judge
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      Stipulation to Continue                  -3-                  U.S. v. Ryan, 15-cr-116 JAM
